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                    Exhibit K
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ------------------------------------------------------------------x
                                                                            :
          J.C.,                                                             :
                                                                            :
                                     Plaintiff,                             :
                                                                            :
                   -against-                                                :
                                                                            : Index No. 951450/2021
          ROBERT ALLEN ZIMMERMAN a/k/a BOB
                                                                            :
          DYLAN,
                                                                            : ANSWER TO AMENDED COMPLAINT
                                     Defendant.                             :
                                                                            : JURY TRIAL DEMANDED
                                                                            :
                                                                            :
                                                                            :
                                                                            :
                                                                            :
          ------------------------------------------------------------------x

                 Defendant Mr. Bob Dylan, by and through his undersigned counsel, answers each

          according to his own knowledge the allegations contained in the Complaint of J.C., and states his

          affirmative defenses. Unless expressly admitted, all allegations in the Complaint are denied.

                                       DEFENDANT’S INTRODUCTION

                 This case—based on Plaintiff’s alleged interactions with Bob Dylan more than 56 years

          ago—is a brazen shakedown masquerading as a lawsuit. It was filed in bad faith for the

          improper purpose of extracting a huge payout on the threat of negative publicity. The allegation

          is false, malicious, reckless and defamatory. Mr. Dylan will not be extorted. Mr. Dylan will

          vigorously defend himself against these lawyer-driven lies and seek redress against all those

          responsible, including by seeking monetary sanctions against persons responsible for

          manufacturing and bringing this abusive lawsuit.

                 According to her own website, Plaintiff is a psychic who specializes in “channeling” the

          deceased loved ones of grieving families—for a fee. Plaintiff has publicly claimed that:


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             she has been abducted by aliens and piloted their spaceship;

             she “channels” the dead, including Harry Houdini;

             she speaks to cats, dogs, and other animals – alive and dead – as well as insects and plants;

             she can divine signs from lipstick smudges, coffee grinds, tea leaf residue, crystals, playing

              cards, and palms.

                 While the complaint contains almost no particulars regarding Plaintiff’s alleged

          interactions with Mr. Dylan in 1965, investigation has revealed that her claim is based on a

          fantastical and fictitious story being exploited for financial gain. When the full supposed “facts”

          come to light, the world will learn just how ludicrous they are, and will see this bad faith lawsuit

          for what it is—a pernicious attempt to extort Mr. Dylan. At this time, it is sufficient to say that

          her allegation is untrue, absurd and a chronological impossibility.

                 Plaintiff’s allegation is also a moving target. She told a very different story about her

          alleged interactions with Mr. Dylan to a journalist, Mr. Daryl Sanders, in 2017. Mr. Sanders did

          not believe Plaintiff’s account was true and refused to report it. Similarly, in the aftermath of

          Plaintiff filing her Complaint on August 13, 2021, numerous scholars and historians pointed out

          the allegation was chronologically impossible because Mr. Dylan’s whereabouts on tour and

          engagement in other professional activities outside New York and North America during April

          and May 1965 are well-documented. The Amended Complaint makes a single change, altering

          the timeline from “April and May” to “the spring of 1965,” a glaring—but still unsuccessful—

          attempt to repair this fatal chronological defect in the original Complaint.

                 Mr. Dylan may have seemed like an easy mark for the lawyers who filed and hoped to

          profit off of this fraudulent lawsuit. They likely assumed he would not be up for the fight and

          would instead pay extortion to avoid the burden, publicity and expense of defending himself.



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          They could not have been more wrong. Mr. Dylan seeks and will achieve justice, vindication

          and full accountability.

                        DEFENDANT’S ANSWERS TO PLAINTIFF’S ALLEGATIONS

                 1.      Mr. Dylan denies the allegations contained in Paragraph 1.

                 2.      The allegations contained in Paragraph 2 are legal conclusions to which no

          response is required. To the extent a response is required, Mr. Dylan denies the allegations

          contained in Paragraph 2.

                 3.      Mr. Dylan lacks knowledge or information sufficient to form a belief as to the

          truth of the allegations contained in Paragraph 3.

                 4.      Mr. Dylan lacks knowledge or information sufficient to form a belief as to the

          truth of the allegations contained in Paragraph 4. To the extent a response is required, Mr. Dylan

          denies the allegations contained in Paragraph 4.

                 5.      The allegations contained in Paragraph 5 are legal conclusions to which no

          response is required. To the extent a response is required, Mr. Dylan denies the allegations

          contained in Paragraph 5.

                 6.      Mr. Dylan’s accolades speak for themselves.

                 7.      The allegations contained in Paragraph 7 are legal conclusions to which no

          response is required. To the extent a response is required, Mr. Dylan denies the allegations

          contained in Paragraph 7.

                 8.      Mr. Dylan denies the allegations contained in Paragraph 8.

                 9.      Mr. Dylan lacks knowledge or information sufficient to form a belief as to the

          truth of the allegations contained in Paragraph 9.

                 10.     Mr. Dylan denies the allegations contained in Paragraph 10.




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                 11.     Mr. Dylan denies the allegations contained in Paragraph 11. Mr. Dylan’s

          movements during this period of his life are well-documented. In the spring of 1965, it is easily

          proven that Mr. Dylan was on a tour of the United States, and later, the U.K.

                 12.     Mr. Dylan denies the allegations contained in Paragraph 12.

                 13.     Mr. Dylan denies the allegations contained in Paragraph 13.

                 14.     Mr. Dylan denies the allegations contained in Paragraph 14.

                 15.     Mr. Dylan incorporates by reference his responses to Paragraphs 1 through 14.

                 16.     Mr. Dylan denies the allegations contained in Paragraph 16.

                 17.     Mr. Dylan denies the allegations contained in Paragraph 17.

                 18.     Mr. Dylan denies the allegations contained in Paragraph 18.

                 19.     Mr. Dylan denies the allegations contained in Paragraph 19.

                 20.     Mr. Dylan denies the allegations contained in Paragraph 20.

                 21.     The allegations contained in Paragraph 21 are legal conclusions to which no

          response is required. To the extent a response is required, Mr. Dylan denies the allegations

          contained in Paragraph 21.

                 22.     Mr. Dylan incorporates by reference his responses to Paragraphs 1 through 21.

                 23.     Mr. Dylan denies the allegations contained in Paragraph 23.

                 24.     Mr. Dylan denies the allegations contained in Paragraph 24.

                 25.     Mr. Dylan denies the allegations contained in Paragraph 25.

                 26.     Mr. Dylan denies the allegations contained in Paragraph 26.

                 27.     The allegations contained in Paragraph 27 are legal conclusions to which no

          response is required. To the extent a response is required, Mr. Dylan denies the allegations

          contained in Paragraph 27.




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                 28.     Mr. Dylan incorporates by reference his responses to Paragraphs 1 through 27.

                 29.     Mr. Dylan denies the allegations contained in Paragraph 29.

                 30.     Mr. Dylan denies the allegations contained in Paragraph 30.

                 31.     Mr. Dylan denies the allegations contained in Paragraph 31.

                 32.     Mr. Dylan denies the allegations contained in Paragraph 32.

                 33.     The allegations contained in Paragraph 33 are legal conclusions to which no

          response is required. To the extent a response is required, Mr. Dylan denies the allegations

          contained in Paragraph 33.

                 34.     Mr. Dylan incorporates by reference his responses to Paragraphs 1 through 33.

                 35.     Mr. Dylan denies the allegations contained in Paragraph 35.

                 36.     Mr. Dylan denies the allegations contained in Paragraph 36.

                 37.     Mr. Dylan denies the allegations contained in Paragraph 37.

                 38.     Mr. Dylan denies the allegations contained in Paragraph 38.

                 39.     The allegations contained in Paragraph 39 are legal conclusions to which no

          response is required. To the extent a response is required, Mr. Dylan denies the allegations

          contained in Paragraph 39.

                                           AFFIRMATIVE DEFENSES

                 40.     The statement of any defense hereinafter does not assume the burden of proof for

          any issue as to which applicable law places the burden upon Plaintiff. In addition, Mr. Dylan

          presently has insufficient information upon which to form a belief as to whether Mr. Dylan may

          have additional, as yet unstated, separate defenses available. Mr. Dylan expressly reserves the

          right to amend this Answer to add, supplement, or modify his affirmative defenses and other

          defenses based upon legal theories that may be divulged through clarification of the Complaint,




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          through discovery, or through further legal analysis of Plaintiff’s allegations, contentions, and

          positions in this litigation.

                                           FIRST AFFIRMATIVE DEFENSE

                  41.     Plaintiff’s claims are barred in whole or in part due to Plaintiff’s and/or her

          agent(s)’ own misrepresentations and/or omissions.

                                          SECOND AFFIRMATIVE DEFENSE

                  42.     Plaintiffs’ Complaint fails to state a cause of action and/or fails to state a claim

          cognizable under the Child Victims Act, (N.Y. CPLR § 214-g).

                                           THIRD AFFIRMATIVE DEFENSE

                  43.     Plaintiff’s Complaint is barred by the applicable statute of limitations.

                                          FOURTH AFFIRMATIVE DEFENSE

                  44.     Plaintiff’s damages, if any, were caused by intervening and/or superseding

          cause(s).

                                           FIFTH AFFIRMATIVE DEFENSE

                  45.     The Plaintiff’s injuries, if any, were caused in whole or in part by a person or

          persons who were not within the control of Mr. Dylan.

                                           SIXTH AFFIRMATIVE DEFENSE

                  46.     Plaintiff’s claims are barred by the doctrine of laches; the unreasonable delay in

          filing the present action is prejudicial to Mr. Dylan.

                                          SEVENTH AFFIRMATIVE DEFENSE

                  47.     The Child Victims Act (N.Y. CPLR § 214-g) violates Mr. Dylan’s Due Process

          rights under the Fourteenth Amendment of the U.S. Constitution and Article I, Section 6 of the

          New York State Constitution.




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                                           EIGHTH AFFIRMATIVE DEFENSE

                 48.      As described above, there is no basis for an award of punitive damages. Rather,

          the baseless, outrageous, and irresponsible claims asserted in this action support the imposition

          of sanctions.

                                        NINTH AFFIRMATIVE DEFENSE

                 49.      As described above, Plaintiff’s Complaint is barred because the claims therein are

          a fraud upon the Court.


          Dated: January 6, 2021                        Respectfully submitted,
                 Buffalo, NY                            HURWITZ & FINE, P.C.



                                                        By: /s/ Andrea Schillaci
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                                                    VERIFICATION

                    I, Andrea Schillaci, an attorney duly admitted to practice in the Courts of the State of

          New York, hereby affirm under penalty of perjury pursuant to CPLR 2106, that the following is

          true and correct:

                    1.     I am a partner in the law firm Hurwitz & Fine, P.C., attorneys for the Defendant.

                    2.     I have reviewed the foregoing Answer and know the contents thereof. The same

          are true to my knowledge based on correspondence with and interviews of the Defendant in this

          action.

                    3.     This affirmation is not made by Defendant because Defendant is not currently in

          the county where the undersigned maintains her office for the practice of law.


          Dated:           January 6, 2021
                           Buffalo, NY
                                                          By: /s/ Andrea Schillaci




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